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   IT IS ORDERED as set forth below:



    Date: November 8, 2024
                                                           _________________________________

                                                                    Barbara Ellis-Monro
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

  In Re:                                               CASE NO. 23-61742-BEM

  ARC MANAGEMENT GROUP, LLC,                           CHAPTER 11

  Debtor.

            ORDER PERMITTING WITHDRAWAL OF COUNSEL FOR DEBTOR

        This matter is before the Court on the Motion to Withdraw as Counsel [Doc. No. 207] (the

 “Motion”) filed by the law firm of Rountree Leitman Klein & Geer, LLC (“RLKG”) as counsel

 of record for Debtor ARC Management Group, LLC (“Debtor”) in the above-captioned

 bankruptcy case. Attached to the Motion is RLKG’s Certification of Written Notice certifying that

 Debtor received notice of the Motion and RLKG’s intent to withdraw as counsel for Debtor. No

 objections to the Motion were filed with the Court.


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        After considering the Certification of Written Notice, and it appearing that RLKG has

 complied with BLR 9010-5, it is hereby ORDERED that the Firm and its counsel are hereby

 removed as counsel of record for Debtor.

                                  ### END OF ORDER ###




 Prepared and Presented by:

 ROUNTREE LEITMAN KLEIN & GEER, LLC

 /s/Ceci Christy
 William A. Rountree, Ga. Bar No. 616503
 Ceci Christy, Ga. Bar No. 370092
 Century Plaza I
 2987 Clairmont Road, Suite 350
 Atlanta, Georgia 30329
 (404) 584-1238 Telephone
 wrountree@rlkglaw.com
 cchristy@rlkglaw.com
 Attorneys for Debtor


 Distribution List

 William A. Rountree
 Rountree Leitman Klein & Geer, LLC
 Century Plaza I
 2987 Clairmont Road, Suite 350
 Atlanta, Georgia 30329

 ARC Management Group, LLC
 Mr. Bill Wilson
 Chief Executive Officer
 1825 Barrett Lakes Blvd. NW
 Suite 505
 Kennesaw, Georgia 30144

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